
Upon consideration of the petition for discretionary review, filed by State of NC on the 21st of March 2016 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 21st of March 2016 by State of NC to Consolidate Appeals:
"Motion Allowed by order of the Court in conference, this the 9th of June 2016."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
